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12
13                               UNITED STATES DISTRICT COURT

14                            NORTHERN DISTRICT OF CALIFORNIA

15                                       OAKLAND DIVISION
16
     J. DOE 1, et al.,                              Case No. 4:22-cv-6823-JST
17
                   Individual and                   Consolidated with Case No. 4:22-cv-7074-JST
18                 Representative Plaintiffs,
                                                    [PROPOSED] ORDER GRANTING
19         v.                                       DEFENDANTS GITHUB AND
                                                    MICROSOFT’S LOCAL RULE 79-5(f)
20   GITHUB, INC., et al.,                          ADMINISTRATIVE MOTION TO
                                                    CONSIDER WHETHER ANOTHER
21                                Defendants.       PARTY’S MATERIAL SHOULD BE
                                                    SEALED
22
                                                    Date:          April 25, 2024
23   AND CONSOLIDATED ACTION                        Time:          2:00 p.m.
                                                    Courtroom:     6, 2d Floor
24                                                  Judge:         Hon. Jon S. Tigar
25                                                  Amended Complaint Filed: January 25, 2024
26
27
28
                                                                       [PROPOSED] ORDER GRANTING
                                                                                   MOTION TO SEAL
                                                                                NO. 4:22-CV-6823-JST
      Case 4:22-cv-06823-JST Document 242-2 Filed 04/10/24 Page 2 of 2



1           Before the Court is GitHub and Microsoft’s Local Rule 79-5(f) Administrative Motion To
2    Consider Whether Another Party’s Material Should Be Sealed (“Administrative Motion”). The
3    Administrative Motion seeks to file under seal portions of Defendants GitHub and Microsoft’s
4    Reply in Support of Their Motion to Dismiss Portions of the Second Amended Complaint in
5    Consolidated Actions, because Plaintiffs have asserted that such information should be under
6    seal. ECF No. 197. Accordingly, GitHub and Microsoft may file such material under seal
7    pursuant to Local Rule 79-5(f) until such time as the propriety of the designation is fully
8    adjudicated, and the Administrative Motion is GRANTED.
9           IT IS HEREBY ORDERED that counsel for GitHub and Microsoft may file under seal
10   the following information that Plaintiffs have sought to maintain under seal:
11
             Portion to be Sealed           Basis for Sealing Document or Portions Thereof
12    Highlighted portions of GitHub    The highlighted portions reflect information that
13    and Microsoft’s Reply in Support  Plaintiffs have asserted should be under seal.
      of Their Motion to Dismiss
14    Portions of the Second Amended
      Complaint in Consolidated Actions
15
16   IT IS SO ORDERED.
17
18   DATED: ________________                               __________________________________
19                                                         JON S. TIGAR
                                                           United States District Judge
20
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28
                                                     -2-                      [PROPOSED] ORDER GRANTING
                                                                                          MOTION TO SEAL
                                                                                        No. 4:22-cv-6823-JST
